                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 JOHN RUFFINO and MARTHA )
 RUFFINO, Husband and Wife, )
                            )
       Plaintiffs,          )
                            )                          CASE No. 3:17-cv-00725
 v.                         )                          Judge Campbell
                            )
 DR. CLARK ARCHER           )                          JURY DEMANDED
                            )
       Defendant.           )


                 CONSENT ORDER OF DISMISSAL WITH PREJUDICE

       COMES NOW the Parties, Plaintiffs, John Ruffino and Martha Ruffino, and Defendant,

Dr. Clark Archer and announce to the Court that the matters in controversy between the Parties

have been resolved and that they are in agreement that all of Plaintiffs' claims against Defendant

should be and hereby are dismissed with prejudice. In light of the dismissal, neither Party will

seek discretionary costs.

       IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that this cause be, and

the same hereby is, dismissed with prejudice. Defendants shall be responsible for court costs, for

which executions may issue if necessary.

                              6th
       IT IS SO ORDERED this _______           January
                                     day of ______________________ 2020.



                                     ___________________________________________
                                     HON. WILLIAM L. CAMPBELL, JR.
                                     UNITED STATES DISTRICT JUDGE




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